                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           Case No. 1:23-cv-00423-WO-JLW


TIMIA CHAPLIN; KEVIN SPRUILL;
ROTESHA MCNEIL; QIANA ROBERTSON;
YOUSEF JALLAL; MESSIEJAH BRADLEY;
PAULINO CASTELLANOS; ROBERT
LEWIS; and ALLEN SIFFORD, on behalf of
themselves and all others similarly situated,

                               Plaintiffs,            MOTION FOR LEAVE
                                                     TO AMEND COMPLAINT
       v.

WILLIE R. ROWE, in his official capacity as
the Sheriff of Wake County; BRIAN ESTES, in
his official capacity as the Sheriff of Lee
County; THE OHIO CASUALTY
INSURANCE COMPANY, as surety for the
Sheriff of Wake County and as surety for the
Sheriff of Lee County; TYLER
TECHNOLOGIES, INC.; RYAN BOYCE, in
his official capacity as the Executive Director of
the North Carolina Administrative Office of the
Courts; BRAD FOWLER, in his official
capacity as the eCourts Executive Sponsor and
Chief Business Officer of the North Carolina
Administrative Office of the Courts; BLAIR
WILLIAMS, in his official capacity as the
Wake County Clerk of Superior Court; SUSIE
K. THOMAS, in her official capacity as the Lee
County Clerk of Superior Court; JOHN DOE
SURETY, as the surety for the Wake County
Clerk of Superior Court and the Lee County
Clerk of Superior Court; and DOES 1
THROUGH 20, INCLUSIVE,

                               Defendants.




       Case 1:23-cv-00423-WO-JLW Document 76 Filed 02/26/24 Page 1 of 5
       Pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure, Plaintiffs respectfully

move for leave to file a Second Amended Complaint in this action. A copy of the proposed

Second Amended Complaint is filed alongside this motion. L.R. 15.1.

       In support of this motion, Plaintiffs show the following:

       1.      This case concerns civil-rights violations arising from the rollout of the so-called

“eCourts” software in North Carolina.

       2.      Plaintiffs initiated this action on May 23, 2023. See ECF No. 1. At that time, only

four “pilot counties”—Wake, Lee, Johnston, and Harnett—had adopted all components of

eCourts.

       3.      On October 9, 2023, however, eCourts went live in the state’s largest county,

Mecklenburg County.

       4.      On October 24, 2023, Plaintiffs moved for an extension of time to file a First

Amended Complaint under Rule 15(a)(1)(B), which permits amendment once as a matter of

course. ECF No. 29. In seeking an extension, Plaintiffs sought time to “investigate the legal

implications” of, and “additional facts relevant to their claims” arising from, the rollout in

Mecklenburg County. Id. ¶ 5. All defendants consented to that motion. Id. ¶ 7.

       5.      Absent that extension, Plaintiffs had until October 27, 2023 to amend their

complaint. This Court did not rule on the consent motion for an extension by that deadline.

       6.      Accordingly, Plaintiffs filed a First Amended Complaint on October 27, 2023.

ECF No. 30. The First Amended Complaint contained factual allegations pertaining to the rollout

in Mecklenburg County. See, e.g., id. ¶ 77-81 (alleging that, the first four days following the

launch in Mecklenburg County, a software “integration issue” caused more than 60 people to be

“detained well beyond the point their conditions of release were satisfied”). Given the timing,


                                                  2



       Case 1:23-cv-00423-WO-JLW Document 76 Filed 02/26/24 Page 2 of 5
however, counsel for Plaintiffs were unable to include plaintiffs or claims related to the

Mecklenburg rollout in their First Amended Complaint.

       7.      On October 30, 2023, this Court granted Plaintiffs’ consent motion for an

extension of time to file the First Amended Complaint. ECF No. 31. In its order, the Court

“deemed” the First Amended Complaint “timely filed” and recognized it as the new “operative

pleading.” Id. at 2. The Court went on to explain that, because the original complaint was “of no

legal effect,” any pending motions to dismiss had been “rendered moot.” Id.

       8.      In the time since filing the First Amended Complaint, counsel for Plaintiffs have

worked diligently to:

               a.       Investigate the rollout of eCourts in Mecklenburg County and understand

                        its implications;

               b.       Refine Plaintiffs’ factual and legal allegations in response to Defendants’

                        pending motions to dismiss and new case law from the North Carolina

                        Supreme Court; and

               c.       Clarify Plaintiffs’ proposed class definitions.

       9.      Plaintiffs now seek leave to file a Second Amended Complaint. The proposed

amendments would:

               a.       Add four named Plaintiffs—three from Mecklenburg County, and one

                        from Wake County.

               b.       Add as defendants Mecklenburg County Sheriff Gary McFadden, his

                        surety, and Mecklenburg County Clerk of Superior Court Elisa Chinn-

                        Gary.

               c.       Revise the Class Action Allegations.


                                                  3



       Case 1:23-cv-00423-WO-JLW Document 76 Filed 02/26/24 Page 3 of 5
                d.      Add two substantive causes of action:

                        i.        A 42 U.S.C. § 1983 / Monell claim against Mecklenburg Sheriff

                                  McFadden; and

                       ii.        A state-law false-imprisonment claim against the Clerk

                                  Defendants, including Mecklenburg Clerk Chinn-Gary.

                e.      Withdraw the presently alleged cause of action against the Clerk

                        Defendants’ official bonds, in light of the North Carolina Supreme Court’s

                        recent decision in Wynn v. Frederick, 895 S.E.2d 371 (N.C. 2023).

        10.     Rule 15 of the Federal Rules of Civil Procedure provides that courts “should

freely give leave [to amend] when justice so requires.” Fed. R. Civ. P. 15(a)(2); Foman v. Davis,

371 U.S. 178 (1962) (“[T]his mandate is to be heeded.”).

        11.     To that end, “leave to amend a pleading should be denied only when the

amendment would be prejudicial to the opposing party, there has been bad faith on the part of the

moving party, or the amendment would be futile.” Edwards v. City of Goldsboro, 178 F.3d 231,

242 (4th Cir. 1999).

        12.     Given the above standard, Plaintiffs respectfully submit that leave should be

granted. Specifically: (1) this motion is timely and made in good faith; (2) the proposed

amendments are supported by counsel’s diligent investigation of the law and the facts,

particularly in relation to the recent rollout of eCourts in Mecklenburg County; (3) the two newly

proposed claims are not futile and are supported by existing law; (4) no prejudice will result to

Defendants, as discovery has not yet begun, and this Court is yet to rule on class certification or

any of the pending motions to dismiss; and (5) the proposed Second Amended Complaint strives

to clarify the issues for the Court and the parties.


                                                   4



       Case 1:23-cv-00423-WO-JLW Document 76 Filed 02/26/24 Page 4 of 5
       13.    Defendants do not consent to this motion. L.R. 6.1(a).1

       Therefore, Plaintiffs respectfully request that this Court grant leave to file a Second

Amended Complaint.

       This the 26th day of February, 2024.
                                                     /s/ Zachary Ezor
                                                     Zachary Ezor (NCSB #: 55070)
                                                     Email: zezor@tinfulton.com
                                                     Gagan Gupta (NCSB #: 53119)
                                                     Email: ggupta@tinfulton.com
                                                     Abraham Rubert-Schewel (NCSB #: 56863)
                                                     Email: schewel@tinfulton.com
                                                     TIN FULTON WALKER & OWEN PLLC
                                                     119 Orange Street
                                                     Durham, NC 27701
                                                     Telephone: (919) 307-8400

                                                     A. Dami Animashaun
                                                     Email: dami@animashaun.me
                                                     933 South Grand Avenue, Suite 2450 Los
                                                     Angeles, CA 90071
                                                     Telephone: 929-266-3971

                                                     Counsel for Plaintiffs on behalf of
                                                     themselves and all others similarly situated


Served on all parties: Via ECF




1
 In seeking consent from Defendants, Plaintiffs provided a draft of the proposed Second
Amended Complaint. Apart from small modifications, the version of the proposed Second
Amended Complaint filed herewith is substantially the same as provided to Defendants.
                                                 5



      Case 1:23-cv-00423-WO-JLW Document 76 Filed 02/26/24 Page 5 of 5
